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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

                                         )
 UNITED STATES OF AMERICA,               )
                                         )
     Plaintiff,                          )        No. 6:12-CR-01-ART-HAI-1
                                         )        No. 6:14-CV-7382-ART-HAI
 v.                                      )
                                         )     RECOMMENDED DISPOSITION
 DARMUS J. DALTON,                       )
                                         )
     Defendant.                          )
                                         )
                                *** *** *** ***
    On November 24, 2014, pro se Defendant Darmus Dalton filed a motion under 28 U.S.C.

§ 2255 to vacate, set aside, or correct sentence by a person in federal custody. D.E. 351. The

United States filed a response in opposition to Defendant’s motion on April 2, 2015. D.E. 388.

Defendant filed a reply on April 27, 2015. D.E. 399. Pursuant to local practice and 28 U.S.C. §

636(b)(1)(B), this matter was referred to the undersigned for a recommended disposition. D.E.

351-3. After conducting an initial review, the Court held an evidentiary hearing on December

17, 2015. D.E. 420. For the reasons that follow, Defendant has failed to establish that he is

entitled to relief pursuant to 28 U.S.C. § 2255. Therefore, the Court RECOMMENDS that his

section 2255 motion (D.E. 351) be DENIED. The Court further RECOMMENDS that no

Certificate of Appealability be issued.

                                          I. BACKGROUND

       On January 26, 2012, a federal grand jury returned an indictment as to Defndant Darmus

J. Dalton, Craig West, Blake Gumm, William Padgett, Christi Combs, Joseph Stripling, and

Andrea Ridner. D.E. 1. Defendant was charged with conspiracy to knowingly and intentionally

distribute, and possess with intent to distribute, a quantity of pills containing oxycodone, a
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schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1), all in violation of 21

U.S.C. § 846. Id. This charge carried a statutory maximum of twenty years imprisonment, a

$1,000,000 fine, and at least three years of supervised release. See 21 U.S.C. § 841(b)(1)(C).

       At Dalton’s initial appearance and arraignment on February 3, 2012, Scott Foster

appeared as retained counsel on behalf of Defendant, replacing appointed counsel Paul Croley.

D.E. 32. On February 7, 2012, Scott Foster moved to withdraw, and Robert Norfleet entered his

appearance as retained counsel on behalf of Defendant. D.E. 47. Defendant was remanded into

custody following a detention hearing. See id.; D.E. 53. Defendant’s three-day trial began on

May 7, 2012. D.E. 184; D.E. 190; D.E. 194. Defendant, and two co-defendants, were found

guilty of conspiracy to knowingly and intentionally distribute, and possess with intent to

distribute, a quantity of pills containing oxycodone. D.E. 198.

       The United States Probation Office issued a Presentence Investigation Report (PSR) that

determined Defendant to have a total offense level of 32 and a criminal history category of III,

which resulted in a Guidelines Range of imprisonment of 151 to 188 months. D.E. 257 at 17.

Defendant, through counsel, objected to the PSR on five grounds. First, Defendant asserted that

he was innocent of the crime. Id. at 20. Second, Defendant disagreed with the drug quantity that

was attributed to him. Id. Further, Defendant objected that he should not be assessed a four-

point increase his offense level for being an organizer and leader in the conspiracy. Id. at 21.

Defendant also objected to the assessment of two criminal history points for committing “the

instant offense while under a criminal justice sentence for Rape 3rd Degree.” Id. Finally,

Defendant objected to the suggestion in the PSR that there was an aggravating factor to justify

sentencing Defendant higher than his Guidelines Range. Id. at 21-22. The United States also




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objected to the drug quantities listed in the PSR on the basis that the “amount of drugs should be

estimated at a level 32.” D.E. 221 at 4.

         District Judge Thapar held an evidentiary hearing and a sentencing hearing on September

11, 2012. D.E. 239; D.E. 240. Based on testimony from Kentucky State Police Detective

Anthony Janutolo and the evidence presented at trial, Judge Thapar sustained the United States’

objection to the amount of drugs Defendant was responsible for and overruled Defendant’s

objection. D.E. 266 at 58-61. Judge Thapar found that the United States met “its burden of

finding by a preponderance of the evidence that [Defendant] was involved in a conspiracy

involving at least the equivalence of 200,000 milligrams of OxyContins[.]” Id. at 59.

         Next, Judge Thapar overruled Defendant’s objection that he should not be assessed a

four-point increase for being an organizer and leader in the conspiracy, and denied as moot

Defendant’s objection that he was not under a criminal justice sentence. Id. at 72, 77. Finally,

Defendant’s objection that he was innocent of the crime was denied based on the jury verdict,

and Defendant’s final objection that there was not an aggravating factor to justify sentencing

higher than his Range was taken into account in sentencing. Id. at 46-47, 77.

         Judge Thapar found an offense level of 36 with a criminal history category of III, which

placed him in a Guidelines Range of 235 to 293 months of imprisonment, with a statutory cap of

240 months. Id. at 121-22. Judge Thapar also considered the Range as if Defendant’s offense

level was 35, which Range would have been 210 to 262 months of imprisonment. Id. at 133.

Ultimately, Judge Thapar sentenced Defendant to 235 months of imprisonment, mental health

treatment, and three years of supervised release to follow imprisonment. D.E. 254.1



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 On March 6, 2015, Defendant’s sentence was reduced to 210 months pursuant to 18 U.S.C. § 3582(c)(2). D.E.
380.

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       Defendant filed a notice of appeal on September 24, 2012. D.E. 255. Dennis Belli was

appointed as appellate counsel by the Sixth Circuit on October 18, 2012. D.E. 262. On appeal,

Defendant alleged two errors by the district court. First, Defendant argued that the cumulative

effect of improper expert opinion testimony and government misconduct during closing

arguments violated his right to a fair trial. D.E. 340 at 2. In reviewing this argument, the Sixth

Circuit found that Defendant’s claim of cumulative error fails as “there are no errors to

cumulate.” Id. at 12.

       Additionally, Defendant challenged the procedural reasonableness of his 235 month

sentence on two separate grounds. Id. at 12. First, Defendant argued that the district court’s

drug quantity finding was erroneous. Id. at 13-14. The Sixth Circuit found that this argument

was meritless as “the district court’s conservative estimate that [Defendant] was responsible for

200,000 milligrams of oxycodone was supported by competent evidence in the record.” Id. at

17. Second, Defendant challenged the four-level, aggravating-role enhancement applied due to

his role as an organizer or leader of the crime pursuant to U.S.S.G. § 3B1.1(a). Id. at 18. The

Sixth Circuit found that the district court correctly applied the enhancement because the

conspiracy involved five or more participants, and there was sufficient evidence in the record

that Dalton was an organizer or leader of the conspiracy. Id. at 19. Moreover, the Sixth Circuit

rejected Defenant’s argument that the enhancement did not apply because he was only “fronting”

the drugs. Id. at 19-20. Finding no error, the Sixth Circuit affirmed Defendant’s conviction. Id.

at 20. The Supreme Court of the United States denied Defendant’s petition for a writ of

certiorari on October 20, 2014. D.E. 349.

       Defendant filed this § 2255 motion on November 24, 2014. D.E. 351. In his motion and

memorandum, Defendant asserts five Grounds for relief:


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       1)      Ineffective assistance of counsel during plea negotiations. D.E. 351-1 at 3.

       2)      Ineffective assistance of appellate counsel for failure to assert an Alleyne

       argument on direct appeal. Id. at 4.

       3)      Ineffective assistance of appellate counsel for failure to assert an argument

       about the use of the modified categorical approach. Id. at 6

       4)      Ineffective assistance of counsel related to Defendant’s sentencing enhancement

       for his leadership role. Id. at 7.

       5)      Ineffective assistance of counsel for Failing to argue that Defendant’s

       sentencing violated the Double Jeopardy Clause. Id. at 8.

The Court held an evidentiary hearing concerning Ground One on December 17, 2015. D.E.

420. Each Ground will be addressed in turn.

                                       II. BACKGROUND

                                  A. Right to Collateral Attack

       Under 28 U.S.C. § 2255, a federal prisoner may seek habeas relief because a sentence

violates the Constitution or federal law, the federal court lacked jurisdiction to impose such a

sentence, or the sentence exceeds the maximum authorized by law. 28 U.S.C. § 2255. To

prevail on a § 2255 motion alleging constitutional error, a defendant must establish that the error

had a “substantial and injurious effect or influence on the proceedings.” Watson v. United States,

165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)). By

contrast, to obtain habeas relief based on an alleged non-constitutional error, a defendant must

establish a “fundamental defect which inherently results in a complete miscarriage of justice or

an error so egregious that it amounts to a violation of due process.” Id. at 488 (citing Hill v.

United States, 368 U.S. 424, 428 (1962)). As the § 2255 movant, a defendant bears the burden


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of proving his or her allegations by a preponderance of the evidence. McQueen v. United States,

58 F. App’x 73, 76 (6th Cir. 2003) (per curiam) (“Defendants seeking to set aside their sentences

pursuant to 28 U.S.C. § 2255 have the burden of sustaining their contentions by a preponderance

of the evidence.”).

       Additionally, the Court recognizes that Defendant is proceeding pro se, or without the

assistance of an attorney. Pro se motions receive a comparatively lenient construction by the

Court. Castro v. United States, 540 U.S. 375, 381-83 (2003); Franklin v. Rose, 765 F.2d 82, 85

(6th Cir. 1985).

                             B. Ineffective Assistance of Counsel

       All five of Defendant’s Grounds for relief are based on ineffective assistance of counsel.

To successfully assert an ineffective assistance of counsel claim, a defendant must prove both

deficient performance and prejudice. Strickland v. Washington, 466 U.S. 668, 687 (1984);

Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006) (noting that a defendant must prove

ineffective assistance of counsel by a preponderance of the evidence). In order to prove deficient

performance, a defendant must show that “counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland,

466 U.S. at 687. A defendant meets this burden by showing “that counsel’s representation fell

below an objective standard of reasonableness” as measured under “prevailing professional

norms” and evaluated “considering all the circumstances.” Id. at 688. However, a defendant is

not permitted to second-guess trial counsel’s strategic decisions. Moss v. Hofbauer, 286 F.3d

851, 859 (6th Cir. 2002). Thus, “a court must indulge a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance; that is, the defendant

must overcome the presumption that, under the circumstances, the challenged action might be


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considered sound trial strategy.” Strickland, 466 U.S. at 689 (internal quotations omitted).

Notably, “[a] fair assessment of attorney performance requires that every effort be made to

eliminate the distorting effects of hindsight, to reconstruct the circumstances of counsel’s

challenged conduct, and to evaluate the conduct from counsel’s perspective at the time.” Id.

       Deficient performance is considered constitutionally prejudicial only when “counsel’s

errors were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”

Id. at 687. In order to prove prejudice, a defendant “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Id. at 694. Thus, “[a]n error by counsel, even if professionally unreasonable,

does not warrant setting aside the judgment of a criminal proceeding if the error had no effect on

the judgment.” Id. at 691. Courts may approach the Strickland analysis in any order, and an

insufficient showing on either prong ends the inquiry. Id. at 697.

                  1. Ground One: Ineffective Assistance of Counsel During
                                    Plea Negotiations

       In Ground One, Defendant alleges that defense counsel failed to inform him of “the

government’s offered plea deal of seven (7) years.” D.E. 351-1 at 3. In his motion and

supporting memorandum, Defendant provides no factual support for the existence of such a plea

offer. See id. In his reply, however, Defendant alleges, under the penalty of perjury, that after

his sentencing, while he and counsel were at the jail, “[c]ounsel stated ‘I wish we had of took the

deal.’” D.E. 399 at 1. According to Defendant, there were two plea offers: “1.) 7 years and

cooperation; 2.) 10-13 year [sic] without cooperation[.]” Id. Defendant states that he would

“have taken the offered (7) years.” D.E. 351-1 at 3.

       A criminal defendant has the right to effective assistance of counsel during plea

negotiations. Missouri v. Frye, 132 S. Ct. 1399, 1405 (2012). A petitioner who claims that he

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was denied effective assistance of counsel with regard to whether or not to plead guilty must first

prove that counsel rendered constitutionally deficient performance. Humphress v. United States,

398 F.3d 855, 859 (6th Cir. 2005) (citing Magana v. Hofbauer, 263 F.3d 542, 547-48 (6th Cir.

2001)).     “[A] defense attorney’s failure to communicate a plea offer to his or her client

constitutes deficient performance.” Guerrero v. United States, 383 F.3d 409, 416 (6th Cir. 2004)

(citing Griffin v. United States, 330 F.3d 733, 737 (6th Cir. 2003)). Second, in the context of a

plea agreement not entered into, he must establish that:

          but for the ineffective advice of counsel there is a reasonable probability that the
          plea offer would have been presented to the court, i.e., that the defendant would
          have accepted the plea and the prosecution would not have withdrawn it in light
          of intervening circumstances, and also that the court would have accepted its
          terms, and that the conviction or sentence, or both, under the offer’s terms would
          have been less severe than under the judgment and sentence that in fact were
          imposed.
Lafler v. Cooper, 132 S.Ct. 1376, 1385 (2012).

          None of Defendant’s counsel recall any plea offers as described by Defendant being

made by the United States. See D.E. 388-1 (affidavit of Paul Croley) (“[t]here was no discussion

regarding plea agreements between [Croley] and the United States Attorney’s Office[.]”); D.E.

388-2 (affidavit of Scott Foster) (“[t]here were no plea negotiations between [Foster] and the

United States Attorney’s Office[.]”); D.E. 388-3 (affidavit of Robert Norfleet). Norfleet stated

that he did not “recall ever receiving a plea agreement from the United States’ [sic] government

offering to recommend Defendant Dalton serve an 84 month sentence of imprisonment in

exchange for a guilty plea[.]” D.E. 388-3 at 2. According to Norfleet, the only plea agreement

that was offered by the United States was sent on March 27, 2012, would have had a Guidelines

Range of “135 months to 293 months, capped at the statutory maximum of 240 months,” and

required that Defendant cooperate with the government.” Id. at 3, 15. Norfleet stated that this



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offer was rejected by Defendant and the matter proceeded to trial. Id. at 3-4. Norfleet further

stated that he would have “certainly and immediately conveyed [the alleged seven year deal] to

Defendant Dalton and would have both recommended and advised Defendant Dalton to have

promptly accept [sic] [the alleged deal][.]”. Id.

         “In reviewing a § 2255 motion in which a factual dispute arises, the habeas court must

hold an evidentiary hearing to determine the truth of the petitioner’s claims.” Huff v. United

States, 734 F.3d 600, 607 (6th Cir. 2013) (citations and internal quotation marks omitted). To

resolve this factual dispute, the Court conducted an evidentiary hearing on December 17, 2015.

D.E. 420. Both Defendant and Norfleet testified at the hearing.

         Norfleet testified that he had represented Defendant’s wife in a state court matter, in

which both Defendant and his wife were indicted on bribery charges. Evidentiary Hearing,

December 17, 2015, 4:36-5:02.2 Norfleet stated that during his representation of Defendant

herein he may have discussed the outcome of the unrelated state bribery case with Defendant,

however there was no discussion of any plea offer in the state case. Id. at 15:21-59. He testified

that he received the March 27, 2012 plea offer from the United States, and that it would have

required Defendant to admit to being a “ringleader” of a conspiracy to distribute oxycodone. Id.

at 6:57-7:25. Additionally, the plea agreement contained a 32 base offense level, a four-point

enhancement for his leadership role, and would allow for a three-point reduction for acceptance

of responsibility. Id. at 7:26-46. Finally, the sealed supplement would have required Defendant

to cooperate with the United States. Id. at 7:46-51.

         Norfleet testified that, once he received the plea offer via e-mail, he took a physical copy

to the detention center to discuss it with Defendant. Id. at 7:55-8:26. According to Norfleet,

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 Record citations herein to the hearing correspond with the “position” field of the audio file as indicated in the
audio player, meaning the elapsed time of the proceeding instead of the time of day.

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Defendant was not willing to cooperate with the United States in any way, and rejected the plea

agreement by telling Norfleet to “tell the prosecutor that I would take a chicken dinner.” Id. at

9:14-44. Norfleet stated that because Defendant was not going to cooperate, he did not make a

recommendation about the plea agreement “one way or the other.” Id. at 9:45-59. He stated that

the discussion with Defendant regarding the plea offer was a “fairly short conversation” because

Defendant was “adamant that he wanted to go to trial” and was “very assertive that he was not

going to cooperate with the United States as a cooperating witness.” Id. at 14:08-43. Norfleet

stated that this was the only plea agreement he received from the United States. Id. at 9:59-

10:03. Specifically, he testified that the United States never offered a binding plea agreement of

seven years. Id. at 30:33-40.

       Norfleet testified that Defendant was interested in a plea deal that would get him “down

into the seven to ten year range.” Id. at 10:09-20. He said that he informed Defendant that was

not likely unless he cooperated, and that Defendant was “100% adamant that he was not going to

cooperate.” Id. at 10:20-30. Norfleet stated that Defendant’s perception of the case was that the

evidence against him was hearsay and “weak.” Id. at 13:54-14:07.

       Norfleet further testified that, following sentencing, he did not say to Defendant that he

wish they had taken the deal. Id. at 16:15-24. Norfleet testified that he and Defendant had a

conversation following sentencing about Defendant potentially cooperating, and Defendant

indicated that he wished he had taken the plea deal. Id. at 16:28-45. However, he testified that

after discussing that there were post-conviction procedures in order to get a sentencing reduction

if he cooperated, Defendant did not express any interest in doing that. Id. at 16:45-17:00. He

stated that he did not tell Defendant that he could get “seven years for cooperation or ten to

thirteen years for noncooperation.” Id. at 17:01-45.


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       Defendant testified that he never saw the March 27, 2012 plea agreement before trial nor

had Norfleet discussed the document with him at any time. Id. at 41:45-56. He stated that he

never had any discussion with Norfleet about a plea bargain in his federal case. Id. at 42:16-24.

According to Defendant the “only plea deal I was ever discussed [with Norfleet] was a case I had

pending in the state court.” Id. at 41:56-42:07. He testified that Norfleet told him that the case

was based on “circumstantial evidence” and that he could “beat it.” Id. at 43:26-33. Moreover,

he stated that he would have taken the March 27, 2012 plea agreement had it been presented to

him because of the strength of the case against him and his guilt. Id. at 48:26-49. He further

stated that he was willing to cooperate. Id. at 49:00-03.

       Defendant testified that Norfleet came to the detention center a few days after sentencing

and said “that [Norfleet] wished we’d had of took a deal.” Id. at 46:31-43. According to

Defendant, Norfleet told him that the United States “offered like seven years to cooperate, ten to

thirteen if you don’t cooperate.” Id. at 46:45-52. He testified that they he did not say anything in

response. Id. at 47:11-23.

       Defendant further testified that he never told Norfleet he would not cooperate with the

government because Norfleet never brought that to his attention. Id. at 43:33-52. According to

Defendant he told Foster (who was representing him on the state charge) and Norfleet “that I

would not cop out for a chicken dinner.” Id. at 45:59-46:12. He stated that this comment was in

reference to the state plea agreement, not to the federal plea offer. Id. at 46:13-21. He further

stated that Norfleet and Foster would come to the jail together to see him, and they were both in

the room when he made the chicken dinner comment in reference to the state plea offer. Id. at

1:09:01-24. Defendant stated that in the state court case he ultimately took a plea deal of ten

years. Id. at 42:10-15.


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       Defendant testified that he decided to take a plea deal in his state trial after his federal

trial had concluded. Id. at 1:08:29-49. He testified that, before his federal case, he had been

convicted of “three or four” state crimes. Id. at 1:09:42-10:03. Further, he stated that he had

plead guilty in “two or three” of those cases. Id. at 1:10:03-14. Moreover, he said that he went

to trial on one of his previous state cases. Id. at 1:10:14-21. Defendant testified that prior to his

federal case the maximum penalty that he was looking at on any state charge was ten years. Id.

at 1:14:25-33. Moreover, Defendant admitted that he knew he was looking at twenty years in

prison on his federal charge but never asked Norfleet about the possibility of pleading guilty. Id.

at 1:14:59-15:25.

       Based on the briefing and the evidence presented at the evidentiary hearing, Defendant

has not proven that Norfleet failed to convey any plea offer to Defendant. The Court rejects

Defendant’s testimony due to a lack of credibility. As suggested by the Sixth Circuit, the Court

details its reasoning as to this credibility determination. See United States v. Cooke, 915 F.2d

250, 252 (6th Cir. 1990).

       Defendant testified that, not only did Norfleet fail to bring forth plea agreements offered

by the government, but at no point during his federal prosecution did he even ask Norfleet about

the possibility of entering a plea agreement. This is unbelievable for several reasons. First, as

Defendant testified, he has a lengthy criminal history in state court. This includes, according to

Defendant, “three or four” criminal convictions. However, a review of his PSR reveals at least

eight convictions in his criminal history. See D.E. 257 at 11-12. In at least two of these cases

Defendant testified that he plead guilty, and went to trial in another case, clearly indicating

knowledge and experience concerning pleading guilty versus proceeding to trial. It is not

believable to the Court that Defendant, despite extensive familiarity with the criminal justice


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system and the plea bargaining process, would not at least inquire as to the possibility of

pleading guilty with his defense counsel, especially given his high sentencing exposure.

Defendant had, on multiple occasions in the past, taken advantage of the opportunity to enter into

a plea agreement, yet would have the Court believe that he did not even discuss this possibility

with his counsel at any point in the most significant criminal case he had ever confronted.

       Furthermore, Defendant testified as to the seriousness of the charge against him in this

case. He acknowledged that the maximum statutory penalty he was facing was at least twice as

much as the maximum he had faced on previous prosecutions in state court. It is unbelievable to

the Court that Defendant would not at least discuss pleading to the charges in an effort to avoid

such a severe penalty. This is especially true when considering that Defendant knew of the

strength of the United States’ case against him. Defendant stated that he was aware of the

testimony against him and of his actual guilt to some of the allegations. Given the severity of the

penalties, and the acknowledged strength of the government’s case, it is simply unbelievable that

Defendant never brought up attempting to get a plea deal.

       Moreover, Defendant, in an attempt to explain Norfleet’s specific memory of plea

discussions with him, stated that he made the “chicken dinner” comment in reference to plea

discussions he was having with Foster regarding his state charges.          Defendant stated that

Norfleet was in the room while these discussions were ongoing with Foster. Assuming this is

true, it is unbelievable that Defendant would not have asked Norfleet about any possible pleas in

his case.

       Finally, inconsistency in Defendant’s filings further weakens his credibility.           In

Defendant’s memorandum in support of his § 2255 motion, Defendant alleges that Norfleet

failed to bring forth a seven-year plea offer from the government. D.E. 351-1 at 3. However, in


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his reply, Defendant asserts that he found out about two separate plea offers that were not

disclosed: one was seven years with cooperation and the other was ten to thirteen years without

cooperation. D.E. 399 at 1. If Defendant knew that counsel had failed to communicate more

than one plea offer, as he alleges in his reply, it is reasonable to conclude he would have included

it in § 2255 motion and initial memorandum.

       To be clear, the Court is not putting the burden on Defendant or any accused to initiate

plea discussions as a prerequisite to relying upon the right to effective assistance of counsel in

plea negotiations. Clearly the law requires proposed plea agreements to be conveyed by counsel

to the accused. See Guerrero v. United States, 383 F.3d 409, 416 (6th Cir. 2004). Instead, the

Court rejects Defendant’s testimony overall—including that Norfleet did not convey any offer to

him—because his testimony as a whole, particularly that he did not initiate plea discussions with

Norfleet, is not credible. Having rejected Defendant’s version, the Court accepts Norfleet’s

version of the disputed events.

       Based on the record and the evidence that was presented at the evidentiary hearing,

Defendant has not met his burden to establish that Norfleet failed to bring forth any plea offer.

Thus, he has failed to establish deficient performance of counsel. This claim fails.

                2. Ground Two: Ineffective Assistance of Appellate Counsel
                        for Failure to Assert an Alleyne Argument
       Defendant’s second Ground for relief is ineffective assistance of appellate counsel for

failing to assert the argument that Alleyne v. United States, 133 S.Ct. 2151 (2013) applied to his

case. According to Defendant “[t]here is no amount of drugs in the indictment and therefore a

violation of Alleyne’s Precendent” occurred. D.E. 351-1 at 5. Defendant states that “because

the finding by the Court of which statute to sentence on increased the penalty to which the

defendant was subjected, it was an element, which had to be found by the jury beyond a

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reasonable doubt.” D.E. 399 at 4. Thus, according to Defendant, “[t]he judge rather than the

jury, found the “element” thus violating petitioner’s Sixth Amendment Rights.” Id.

       In the context of ineffective assistance of appellate counsel, the Strickland standard

controls. In order to prove prejudice, a defendant “must demonstrate that, but for counsel’s poor

performance, ‘there is a reasonable probability’ the result of his appeal would have been

different.” Shaneberger v. Jones, 615 F.3d 448, 452 (6th Cir. 2010) (citing Strickland, 466 U.S.

at 694). “Appellate counsel cannot be found to be ineffective for ‘failure to raise an issue that

lacks merit.” Id. (citing Greer v. Mitchell, 264 F.3d 633, 676 (6th Cir. 2001)). Further,

“appellate counsel is not required to raise every non-frivolous issue on appeal.” Caver v. Straub,

349 F.3d 340, 344 (6th Cir. 2003).

       Here, Defendant cannot establish deficient performance.           The Sixth Amendment

guarantees the accused a right to a “speedy and public trial, by an impartial jury….” U.S. Const.

amend. VI. Together with due process, this right requires criminal convictions be based upon “a

jury determination that the defendant is guilty of every element of the crime with which he is

charged, beyond a reasonable doubt.” United States v Gaudin, 515 U.S. 506, 509-510 (1995).

“Generally, the district court exercises discretion in sentencing a defendant.” United States v.

Martin, 526 F.3d 926, 942 (6th Cir. 2008) (citing United States v. Booker, 543 U.S. 220, 233

(2005)). However, “[o]ther than the fact of a prior conviction, any fact that increases the penalty

for a crime beyond the prescribed statutory maximum must be submitted to a jury, and proved

beyond a reasonable doubt.” Apprendi v. New Jersey, 530 U.S. 466, 490 (2000). Moreover, any

“[f]acts that increase the mandatory minimum sentence are therefore elements and must be

submitted to the jury and found beyond a reasonable doubt.” Alleyne v. United States, 133 S. Ct.

2151, 2158 (2013).


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        Defendant’s argument is that the District Court’s finding as to drug quantity violated his

Sixth Amendment rights because there was no amount of drugs listed in the indictment, and the

findings by the Court as to the quantity of drugs increased the penalty to which he was subjected.

Defendant’s arguments however, are incorrect.        First, Defendant’s reliance on Alleyne is

misplaced. Alleyne held that any fact that increases the mandatory minimum sentence must be

submitted to the jury and found beyond a reasonable doubt. Id. Defendant was convicted of

conspiracy to distribute, and possess with intent to distribute, a quantity of pills containing

oxycodone, a schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1), all in

violation of 21 U.S.C. § 846. D.E. 198. This carried a maximum penalty of 20 years and no

mandatory minimum sentence. See 21 U.S.C. § 841(b)(1)(C) (“[i]n the case of a controlled

substance in schedule I or II…except as provided in subparagraphs (A), (B), and (D), such

person shall be sentenced to a term of imprisonment of not more than 20 years[.]”). As the

statute does not carry a mandatory minimum sentence, the requirements of Alleyne do not apply,

any reliance on Alleyne would have been meritless, and therefore appellate counsel was not

deficient in failing to do so.

        Second, Defendant claims that the district court’s finding as to drug quantity increased

the statutory maximum authorized by the jury verdict. See D.E. 399 at 4. Therefore, according

to Defendant, under Aprrendi, drug quantity was an element that had to be found beyond a

reasonable doubt by the jury. Id. This argument also fails. Defendant is correct in his assertion

that Apprendi requires any fact, besides a prior conviction, that increases the statutory maximum

be submitted to the jury and proven beyond a reasonable doubt. Apprendi, 530 U.S. at 490. The

findings challenged by Defendant relate directly to sentencing enhancements under the

Guidelines, which must be proven by a preponderance of the evidence.            United States v.


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Bowling, 427 F. App’x 461, 464 (6th Cir. 2011) (citing United States v. Mickens, 453 F.3d 668,

673 (6th Cir. 2006)). The Sixth Circuit has “repeatedly held that Apprendi permits” the term of

imprisonment imposed to be based on drug quantity findings at sentencing by a preponderance of

the evidence “so long as the resulting sentence does not exceed the statutory maximum

established through the jury verdict alone.” United States v. Zidell, 323 F.3d 412, 428 (6th Cir.

2003).

         Here, the statutory maximum permitted by the jury’s verdict was twenty years. See 21

U.S.C. § 841(b)(1)(C). Defendant’s sentence of 235 months is below that statutory maximum,

which Judge Thapar well understood (D.E. 266 at 133), and the statutory maximum was never

increased based upon the district court’s drug quantity finding. Thus, there was no Apprendi

error whatsoever.     Therefore, Defendant cannot prove deficient performance or prejudice

because any argument on appeal on this basis would have been meritless.

         Moreover, to the extent that Defendant is arguing that the punishment should have been

governed by 21 U.S.C. § 841(b)(1)(D), he is incorrect. See D.E. 351-1 at 5. This section applies

to offenses involving “less than 50 kilograms of marihuana, except in the case of 50 or more

marihuana plants, regardless of weight, 10 kilograms of hashish, or one kilogram of hashish

oil[.]” 21 U.S.C. § 841(b)(1)(D). Defendant was not charged with any offense relating to such

drugs, therefore this claim is baseless.

         Because Defendant cannot establish that any issue raised on appeal would have had any

merit, he cannot establish ineffective assistance for failing to raise them. Thus, this claim fails.

           3. Ground Three: Ineffective Assistance of Counsel for Failure to Assert
              an Argument about the use of the Modified Categorical Approach

         Defendant’s next claim of ineffective assistance of counsel, constituted liberally, is that

appellate counsel was ineffective for failing to argue that “[t]he Courts use of the modified

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categorical approach (MCA) was wrongly applied.” D.E. 351-1 at 6. According to Defendant,

he was subject to “an enhancement from level (1) to (3) under criminal history points” even

though “[t]he government failed to establish that the state priors qualified to enhance on.” Id.

Defendant asserts that “the court’s use of the wrongly applied (MCA) created a constitutional

rub” and was “clearly in violation of federal law as stated in Descamps, and applies to the

Guidelines cases.” Id. The United States responds that Defendant was “not subject to any

sentencing enhancement which required an analysis of the elements of any crime he has

previously committed.” D.E. 388 at 7.

       Federal prisoners bear the burden of establishing that they are entitled to relief under 28

U.S.C. § 2255. See McQueen v. United States, 58 F. App’x 73, 76 (6th Cir. 2003) (per curiam)

(“Defendants seeking to set aside their sentences pursuant to 28 U.S.C. § 2255 have the burden

of sustaining their contentions by a preponderance of the evidence.”). Here, Defendant has

failed to meet this burden because he has not established how Descamps v. United States, 133

S.Ct. 2276 (2013), should apply in his case. Descamps dealt with the use of the modified

categorical approach to determine whether a Defendant’s past conviction constitutes a violent

felony under the Armed Career Criminal Act (ACCA). See Descamps, 133 S.Ct. at 2281.

       Defendant alleges that his sentence was incorrectly enhanced because the modified

categorical approach was wrongly applied in his case. However, he does not provide any

meaningful discussion as to how such error occurred. Moreover, a review of Defendant’s PSR

and a transcript of his sentencing reveal that Defendant was not subject to any sentencing

enhancement under the ACCA, nor was the modified categorical approach applicable in his case.

See D.E. 257; D.E. 266. Defendant was assigned a criminal history category of III at sentencing,




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but was not subject to any enhancements under Chapter Four of the Guidelines. See D.E. 257 at

10.

       Therefore, without any specific citations to the record or any evidence whatsoever

supporting this claim, Defendant has failed to establish that the modified categorical approach

was even applied in his case. Thus, he has not met his burden to establish ineffective assistance

of appellate counsel for failing to raise this frivolous argument. This claim fails.

         4. Ground Four: Ineffective Assistance of Counsel Related to Defendant’s
                    Sentencing Enhancement for his Leadership Role

       Defendant’s next claim for ineffective assistance of counsel is related to the District

Court’s application of a four-point sentencing enhancement under § 3B1.1(a) based on the

finding that he was an organizer or leader of the criminal activity. D.E. 351-1 at 7. According to

Defendant, the District Court “determined since ‘[Defendant] fronted the drugs.’ He was a

leader.” Id. Defendant argues that his actions “did not provide sufficient ongoing leadership and

coercive authority to warrant the four (4) points enhancement.” Id. Further, Defendant alleges

that “the government did not offer any evidence that [Defendant] assumed quintessential

leadership warranting an increase.” Id. at 8.

       Defendant’s brief does not allege how counsel, either trial or appellate, was ineffective in

relation to this argument. To the extent Defendant is attempting to reargue the merits of the

claim that was raised on direct appeal in his § 2255 motion, this claim is improper. A § 2255

motion may not be employed to relitigate an issue that was raised and considered on direct

appeal absent highly exceptional circumstances, such as an intervening change in the law.

Wright v. United States, 182 F.3d 458, 467 (6th Cir. 1999); Jones v. United States, 178 F.3d 790,

796 (6th Cir. 1999). Defendant presented this argument to the Sixth Circuit on direct appeal.

See D.E. 340 at 19-20. The court stated that Defendant was doing much more than “fronting”

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the drugs and found that “but for his sponsorship and leadership some of the drug transactions

forming part of the conspiracy would not have occurred.” Id. at 20. Thus, the Court concluded

that “the district court did not err in applying the four-level enhancement.” Id.

       Moreover, to the extent Defendant is arguing that counsel was ineffective for failing to

argue that the four-point enhancement was improper, he cannot establish either deficient

performance or prejudice. In addition to appellate counsel raising this issue on appeal, trial

counsel raised it both in his presentence memorandum and extensively at Defendant’s

sentencing. See D.E. 217 at 4-5; D.E. 266 at 61-65. These arguments were rejected at both the

trial and appellate levels. Therefore, Defendant cannot plausibly argue that either appellate or

trial counsel was deficient because they in fact raised this argument. Likewise, he cannot allege

that there was any prejudice because the arguments were rejected. Thus, this claims fails.

               5. Ground Five: Ineffective Assistance of Counsel for Failing
        to Argue that Defendant’s Sentencing Violated the Double Jeopardy Clause

       Defendant’s final Ground is for ineffective assistance of counsel because his “conviction

and sentence was [sic] in violation of the Double Jeopardy Clause.” D.E. 351-1 at 8. According

to Defendant, the jury found Defendant guilty of “the fronting of the drugs” and then “the district

court held a re-do trial and added to the conviction; ‘[Defendant] was guilty of being a leader of

the conspiracy.’” Id. at 9. This according to Defendant violated the double jeopardy clause

because he “was punished twice in one proceeding.” Id.

       The double jeopardy Clause of the Fifth Amendment provides that “nor shall any person

be subject for the same offence to be twice put in jeopardy of life or limb[.]” U.S. Const. amend.

V. The Supreme Court has “found double jeopardy protections inapplicable to sentencing

proceedings…because the determinations at issue do not place a defendant in jeopardy for an



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‘offense.’” Monge v. California, 524 U.S. 721, 728 (1998) (citing Nicholas v. United States, 511

U.S. 738, 747 (1994)) (internal citations omitted). Moreover, sentencing enhancements have not

been “construed as additional punishment for the previous offense; rather, they act to increase a

sentence ‘because of the manner in which [the defendant] committed the crime of conviction.”

Id. (quoting United States v. Watts, 519 U.S. 148, 154 (1997)); see also United States v.

Wheeler, 330 F.3d 407, 413 (6th Cir. 2003).

       Here, Defendant complains of enhancements applied during his sentencing.             Thus,

pursuant to case law, Defendant did not have a legal basis upon which to make a double jeopardy

argument against his sentence. “[C]ounsel’s failure to raise futile objections and arguments does

not amount to constitutionally deficient performance.” Lyons v. Caruso, 202 F.3d 269, at *3 (6th

Cir. 1999) (Table). Therefore, it was not deficient performance of counsel to elect not to raise a

futile double jeopardy claim.      Moreover, even if deficient performance was established,

Defendant cannot establish that the argument would have been successful and thus cannot

establish prejudice. This claim fails.

       Finally, to the extent Defendant’s § 2255 motion includes another Ground for relief for

ineffective assistance of counsel for failure to conduct a “cursory review of the indictment, plea

bargaining tactics, and the sentence estimate time of imprisonment,” this claim fails as well.

D.E. 351-1 at 9-11. This section of Defendant’s motion fails to allege any facts, with any

specificity, as to how counsel was ineffective. Thus, Defendant has failed to meet his burden

here. These cursory assertions do not entitle Defendant to relief.

                          III. CERTIFICATE OF APPEALABILITY

       A Certificate of Appealability may issue where a petitioner has made a “substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). This standard requires a


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petitioner to demonstrate that “reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000); see

Miller-El v. Cockrell, 537 U.S. 322, 335–38 (2003) (discussing development of standard). The

reviewing court must indicate which specific issues satisfy the “substantial showing”

requirement. 28 U.S.C. § 2253(c)(3); see Bradley v. Birkett, 156 F. App’x 771, 774 (6th Cir.

2005) (noting requirement of “individualized assessment of . . . claims”) (citing Porterfield v.

Bell, 258 F.3d 484, 487 (6th Cir. 2001)). The Court has considered the issuance of a Certificate

of Appealability as to each and every claim presented by Defendant. However, no reasonable

jurist would find the assessments on the merits above to be wrong or debatable; thus, no

Certificate of Appealability should issue.

                                  IV. RECOMMENDATION

       For the reasons discussed above, the Court RECOMMENDS that the District Court

DENY Defendant’s motion (D.E. 351) for 28 U.S.C. § 2255 relief.                   The Court also

RECOMMENDS that the District Court DENY a Certificate of Appealability as to all claims.

       The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights and mechanics

concerning this Recommended Disposition, issued under subsection (B) of the statute. See also

Rules Governing Section 2255 Proceedings, Rule 8(b). Within fourteen days after being served

with a copy of this decision, any party may serve and file specific written objections to any or all

findings or recommendations for determination, de novo, by the District Court. Failure to make

a timely objection consistent with the statute and rule may, and normally will, result in waiver of

further appeal to or review by the District Court and Court of Appeals. See Thomas v. Arn, 474

U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981).




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     This the 29th day of December, 2015.




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